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EXHIBIT “A”
BY FAX

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iL. Frees
Attorneys for Plaintiffs, ccecteits ins we-anasnvone tyson ne on
CARMEN THOMAS BUTLER and
UNICE BUTLER

SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF RIVERSIDE

Case No, RIC 19046 66

COMPLAINT FOR DAMAGES

CARMEN THOMAS BUTLER and UNICE
BUTLER,

Plaintiffs,
vs. NEGLIGENCE
STRICT PRODUCTS LIABILITY
BREACH OF IMPLIED WARRANTY
FAILURE TO RECALL/RETROFIT
FRAUDULENT CONCEALMENT

LOSS OF CONSURTIUM

through L00, Inclusive,

SA kw

Defendants.

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)
TRISTAR PRODUCTS, INC., and DOES tj
)
)
)
}
) DEMAND FOR JURY TRIAL

COME NOW plaintiffs, CARMEN THOMAS BUTLER and UNICE BUTLER, hereby
complain and allege by way of their undersigned counsel, causes of action against Defendants, and each

of them as follows:

THE PARTIES
I. At all times herein mentioned, Plaintiff CARMEN THOMAS BUTLER was and is a

resident of the State of California, County of Riverside.

2, At all times herein mentioned, Plaintiff UNICE BUTLER was and is a resident of the

State of California, County of Riverside.

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COMPLAINT oO

 
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3. Atall times herein mentioned, Defendant, TRISTAR PRODUCTS, INC., (“Defendant”
or “[ristar”) was and is a Pennsylvania corporation with its principal place of business in New Jersey,
and subject to the jurisdiction of this court. [ristar was and is authorized to conduct business in the State
of Califomia and continuss to do so. Tristar has done and continues to do business as Tristar.

4. Plaintift’s are informed and believe, and thereon allege, that at all times herein mentioned,
Defendant, lristar and DOES | through 100, (collectively, “Defendants”), were and now are engaged
in the business of formulating, researching, developing, manufacturing, fabricating, designing.
producing, creating. modifying. labeling. assembling, testing, distributing, leasing, buying, supplying.
selling. inspecting, servicing, repairing, installing, marketing, promoting, warranting, re-branding,
manufacturing for others, packaging. providing use instructions and warnings for, and advertising
certain pressure cookers, one of which was sold to Plaintiff and which was continuously owned and
used by Plaintiff from that time through and including December §, 2018.

5. The true names and capacities. whether individual, corporate. associate, governmental or
otherwise, of Defendants DOES | through 100, inclusive, are unknown to Plaintiffs at this time. who
therefore sue said Defendants by such fictitious names. When the true names and capacities of said
Defendants have been ascertained. Plaintiffs will amend this Complaint accordingly. Plaintiffs are
informed and believe. and thereon allege. that each Defendant designated herein as a DOF is
responsible. negligently or in some other actionable manner, for the events and happenings hereinafter
referred to, and caused injuries and damages proximately thereby to the Plaintiffs as hereinafter alleged.

6. At ali times herein mentioned, each of the Defendants was the agent, servant, employee
and/or joint venturer of each of the other Defendants and at all said times, each Defendant was acting in
the full course and scope of said agency, service, employment and/or joint venture.

JURISDICTION AND VENUE

7. This Court has jurisdiction over this matter because Defendants conduct business in, have
their principal place of business within. purposely avail themselves of, or reside within the State of
California and Riverside County.

8. Venue is proper in this Court pursuant to California Code of Civil Procedure § 395ta)
because Plaintiffs, CARMEN THOMAS BUTLER and UNICE BUTLER. sustained injuries in, and

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reside in, Riverside County.
FACTUAL INTRODUCTION
2 9. Defendant Tristar designs, manufacturers, markets, imports. distributes and sells a
, variety of “innovative “consumer products such as the Jack Lalanne Power Juicer, ‘the Genie
Bra,’ and Copper Chef Cookware’, amongst others. It holds itself out to be a “recognized pioneer of
taking innovative ideas and turning them int'o branded worldwide distributed products."

10. Defendant Tristar accredits tts great successes to its “[dJedication to high standards and
quality manufacturing makes Tristar Products an internationally respected infomercial leader.” “With
Well established brands, proven international and domestic distribution channels...the best team in the
industry and quality manufacturing that attracts celebrity endorsements, Tristar Products Inc. has
exceeded over a billion dollars in sales.”

Ll. Defendant ‘Tristar aygressively warrants, markets, advertises and sells tts Pressure
Cookers as “state of the art kitchen science," allowing consumers to cook “wholesome, sit down.

family-style meal(s] with just the push of a button:”” “in a fraction of the time’ as other kitchen
appliances; and that “{t]here’s no safer way to cook.’*
ty 12. Additionally, in the section of its website titled the “Power Pressure Cooker XL. vs.
The Competition,” Defendant Tristar emphasizes the “Built-In Safety Features” as one of the
characteristics that helped the Pressure Cooker become “The Best Electronic Power Cooker On The
16 Market.” *
"O 13. To further propagate its message, Defendant Tristar has, and continues to utilize
numerous media outlets including. but not limited to, television infomercials, social media websites

oz such as YouTube, third-party retailers, and professional chef endorsements. For example,

 

* https://www.tristarproductsinc.com/about-tristar-products-ine.php (“over $1 billion in -etail sales”).
? id. ("the number one selling seam/ess bra in the world").

as, 4d. (“over $200 million in saies”).

Vid.

* https://www.youtube.com/watch?v=hN13irMs_ $4 at 1:34 1:35 (last accessed August 31, 2017)

5 id. at 9:04 - 9:08.

71d. at 9:08 - 9:10.

5 https://www.youtube.com/watch ?v=kCESKISSROK at 2:54 (last accessed August 31, 2017)

2? http://www.powerpressurecooker.com/comparison.php (last accessed August 31, 2017).

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the following can be found on Defendant Tristar’s Power Pressure Cooker XL website!” from “culinary
expert,” Eric Theiss, who is featured in many of Defendant Tristar’s YouTube videos, as well as its
television infomercial:

"| have seriously never seen a couk tool so easy. so versatile, so affordable that anyone can make
guality, delicious meals, perfectly cooked from the very first time! The Perfect Cooker is the one pot
that does it all!"'!

4. In one YouTube video, Mr. Theiss states that “when your Pressure Cooker fs up to
pressure, the lid locks on. I couldn't get this lid open if | wanted to. There’s no way you’re gonna open
it. So, it’s loaded with safety features, you puys. So, if you've never used a pressure cooker before. this
is one of the safest ones you can get.” Later in the video, when Mr. Theiss is releasing the pressure
from the Pressure Cooker, he states that “even if | wanted to.” he couldn't open the lid “hecause the
pressure is still inside." The Pressure Cooker “knows” when the pressure has fully released and will
unlock “automatically.”

15. During the ordinary and routine operation of the Pressure Cooker, the unit generates heat
and steam to cook; utilizing temperatures up to 248 degrees Fahrenheit (120 degrees Celsius). which is
intended to create “a more sterile and healthier environment when compared to traditional cooking
methods”, ''

16, According to the Owner's Manual’* accompanying each individual unit sold, the
Pressure Cookers purport to have “Built-In Safety Features.” misleading the consumer into
believing that the Pressure Coukers are reasonably sale for their normal, intended use. Said “Safety
Features” include, but are not limited to, the following:

a. Lid Safety Device: Prevents pressure build-up if lid is not closed properly and prevents lid

from opening until all pressure is released.

 

° hup/iwww powerpressurccouker.comgclid CiOKLQiwicLKBRCZmN Tvyows)-
4BDIQAL sgQva, TahyOkLODOfinJ0ZaW4G7orl22 VwsC EE Aaros9zU2AgMbaP8iiAd (last accessed August 31, 2017)
} hun /Avww powerpressurecouker convabout php (last accessed August 41, 20/7).

" hitps:/swww youtube com/watehy UsY Foti L st feature youtube (last accessed August 31, 2017),

Whe

4 Power Pressure Couaer XL. Madel No. P?C-77G Owner's Maaual at pg. 2

* Atached hereto and incorporated by reference as Exhibst A is the aforementioned Owner’s Manual for the subject Power Pressure
Cooker kL. Model Nu. PPC-770.

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bh. Pressure and Temperature Sensor Controls: Maintain even heat and pressure by automatically
activating or deactivating the power supply.

c. “Back-up” Safely Release Valve: Should the Temperature/Pressure Sensor device malfunction,
causing pressure to build beyond maximum setting, the “Back-Up” will automatically “kick in” and
release the built-up pressure.

d. “Clog Resistant” Feature: Prevents food from blocking the steam release port.

e. “Spring-Loaded” Satety Pressure Release: Should all safety features listed above fail, this
“spring-loaded” device located beneath the heating element will automatically lower the Inner Pot,
causing it lo separate automatically from the Rubber Gasket. This will enable the steam and pressure
to automatically escape around the pot Lid, avoiding a dangerous situation.

{Temperature “Cut-Off" Device: Should the unit malfunction and cause the internal temperature
to rise beyond the “Sate” limit, this device will cut-off the power supply and will not automatically
reset!

17. In addition to the “Built-In Satety Features” listed in the nanual, in Defendant Tristar's
“Frequently Asked Questions” YouTube video,'’ Defendant [ristar states that lid of the Pressure
Cookers “should only come off if there [is] nv pressure inside.”'® Specifically:

a. “People worry that the lid might come off. It won't.” (1:02)

b. “The lid on the Power Pressure Cooker XL can only come off if there’s no pressure left inside
the pot. And remember, if there is pressure present inside the pot, the lid will stay securely closed so
you don’t have to worry.” (1:02)

c. “Once your meal is finished, the unit will depressurize and automatically stop cooking and
switch to the Keep Warm mode. There’s no safer way to cook.” (2:54)

18. By reason of the forgoing acts or omissions, the above-named Plaintiffs purchased their
Pressure Cooker with the reasonable expectation that it was properly designed and manufactured, free
from defects of any kind, and that it was safe for its intended, foreseeable use of cooking.

19. Plaintilf used her Pressure Cooker for its intended purpose of preparing meals for themselves

* Power Pressure Cooker XL, Mode! No. PPC-770 Owner’s Marual at pg. 2,
* Attps://www.youtube.com/watch ’v=kCESRISSROE (last accessed August 31, 2017).
* Power Pressure Cooker XL, Modal No. PPC-770 Owner's Manual at pe. 3.

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and their families and did so in a manner that was reasonable and foreseeable by Defendant Tristar.
20. However, the aforementioned “Safety Features” of the Pressure Cooker was defectively
esigned and manufactured by Defendant [ristar in that it failed to properly function as to prevent the
tid from being removed with normal force while the unit remained pressurized, despite the appearance
that all the pressure had been released, during the ordinary, foreseeable and proper use of cooking food
with the product; placing the Plaintiff, her family, and similar consumers in danger while using the
Pressure Cookers.

21. Detendant Tristar’s Pressure Cookers possess defects that makes them unreasonably
dangerous for their intended use by consumers because the lid be rotated and opened while the unit
remains pressurized.

22. Further, Defendant Tristar’s representations about “safety” are not just misleading, they are
flatly wrong, and put innocent consumers like Plaintiff directly in harm’s way.

23, Keonomic, safer alternative designs were available that could have prevented the Pressure
Cooker’s lid from being rotated and opened while pressurized. l'xamples of such designs include, but
are not limited to, the following examples:

a. Designing the Pressure Cooker with a longer locking pin that could be griped between user's
thumb and the forefinger, in combination with changing the base unit locking lug ramp angle on the
locking luy adjacent the locking pin from 45-degrees to 90-degrees:

b. Designing a lid shield with fewer holes for steam passage. and with those holes positioned as
far away as possible from the manual release and floating valves to reduce the likelihood of clogging:
and,

c. Designing the holes in the lid shield to direct any contents away from the valve.

24. Defendant Tristar knew or should have known that its Pressure Cookers possessed defects
that pose a serious safety risk to Plaintiff and the public. Nevertheless, Defendant Tristar continues to
ignore and/or conceal its knowledge of the Pressure Cooker's defects from the general public, and
continues to generate a substantial profit from the sale of its Pressure Cookers, demonstrating a callous,
reckless, willtul, depraved indifference to health, safety and welfare of Plaintiffs and consumers like

them. For example:

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vii. February 25, 2016: (“I was preparing dinner for my family using the Power
Pressure Cooker XL. [ had selected the soup option and set the timer for 25 minutes. When the
timer went off notifying me that the cooking was complcte, | tumed the pressure release valve
allowing the pressure to escape. I let this action continued [sic] for over 15 minutes until the
valve dropped and no other pressure released. {| then went to turn the lid to remove when the
pressure from the cooker exploded causing hot scalding soup to crupt all over my kitchen and
myself, I received second degree burns on my left hand and right breast. My doctor prescribed
Silvadene to help with the healing process and deter infection but will be going for a would
check to ensure it is healing properly.”)

vill. March 15, 2016: (“Consumer was cooking with the pressure cooker, then
released the pressure valve. Then [later] came to open it and the lid blew off and contents
exploded all over consumer's body. Product was supposed to stay locked until a!l pressure was
released, which it did not”)

ix. May 30, 2016: (“Went to open pressure cooker. Tumed the valve to release the

ressure and it did not release. [I] attempt{ed] to repeat this step with no change. Went to turn
the lid and open the cooker. Pressure cooker contents burst and burned me.”)

x. November 1, 2016: (“We were using a Tristar Pressure Cooker last night when
10 minutes into the cook time we heard a loud pop and a steaming sound. We went into the
kitchen to see that it had popped its seal and was unlocked with steam coming out. We quickly
unplugged it and turned the pressure release button. We didn’t open it until it was finished
steaming and then open it. We didn't use it again.”)

xi. March 23, 2017: (“Pressure cooker malfiinetion resulting in injury. At
approximately 3:50 pm, [ was cooking dinner in the Power Cooker Plus (Iristar) pressure
cooker. | have used it many times and [am very familiar with pressure cooker usage. When the
meal was done, | manually released the pressure using the valve. Believing the pressure to be
fully released. [ attempted to turn the lid. The lid is advertised as a safety lid that should not turn
if there is any pressure. However, the lid did turn and, as it did, the scalding hot contents of the

pot erupted and shot out of the pressure cooker.”)

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xi, = May 30, 2017: ("My wife was cooking dinner using Tristar power pressure
cooker xl. The product indicated it was done and all directions were followed to release pressure.
While releasing cover the contents exploded all over leaving my wife with second and third
degree bums on her hands. arms, chest and stomach.”)

b. Several lawsuits have been filed in District Courts throughout the United States alleging
failure of the Power Pressure Cooker XL and Power Cooker models with the same supposed “Built-In
Safety Features” and design detects. Specifically, see the following:

i. Ninfa Vasquez and Jose Vasquez v. Tristar Products, Inc. (Filed in the Southern
District of Texas Brownsville Division, June 12, 2016.) (“Mrs. Vasquez used the cooker for the
first time on August 2, 2014 and followed all instructions enclosed with the cooker. She intended
to prepare pinto beans for her family’s dinner that evening. Approximately two hours after
unplugging the cooker, suddenly and without warning, the lid blew off of the cooker, and the
pinto beans burst oul of the cooker onto Mrs, Vasquez, resulting in extensive and severe burns
to her bady.”) PI, Compl. © 10.

ii, Serguei Tchernykh & Liliya Bekteva v. Bed Bath & Bevond. Inc. v. Tristar
Products, Inc. (Filed in the Southern District of Florida Miami Division, June 24, 2015.) (“As a
result of a malfunction of the subject Pressure Cooker [on September 30, 2015], Plaintiff
sustained severe burns.”} PIf. Compl. € 7.

iil. Ana R. Frias, [Individually and on behalf of her infant child, Annel Frias v. Tristar
Products, Inc. (Filed in the Western District of Texas San Antonio Division, January 29, 2016.)
(“At around 11:30 AM [on December 22, 2015] when Ana Frias attempted to remove the lid
from the subject pressure cooker, the subject pressure cooker exploded. causing scalding hot
liquid and steam to fly up and out of the pressure cooker, and onto the Plaintiff, Ana Frias and
infant Annel Frias.) PIf Compl © 5.

iv. Tonia Kaye Carroll & Kerry Dale Carroll v. Tristar Products, Inc. (Filed in the
Middle District of Tennessee Columbia Division, February 17, 2016.) (“On or about March 18,
2015 Plaintiff Tonia Carroll was seriously injured during normal and ordinary use of the product

when the Power Cooker exploded as the result ofa malfunctioning lid. Specitically, and because

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of its defect and in conflict with the representations contained in the instruction manual, the lid
was not prevented from opening while the unit was under pressure.”) PIf, Compl. § 7.

¥. Melanice Landrum v. Tristar Products, Inc. (Filed in the Eastern District of
Michigan Southern Division, March 24, 2016.) (*On or about May [2, 2014. Plaintiff was
cooking food in the Defendant's Power Cooker. Per the instructions, after the Power Cooker
light indicated the food was cooked, Plaintiff repeatedly slid the pressure release lever to release
any remaining pressure. After waiting approximately fifteen more minutes. Plaintiff again slid
the pressure release lever back and forth, As Plaintiff opened the unit, the food suddenly
exploded out of the unit. spraying all over the kitchen walls and ceiling. and causing serious bum
injuries to Plaintiff as deseribed below.~) Plt. Compl. §© 14. 15.

vi. Ayesha Mack, individually, and as Next Friend of DM, a minor v. Tristar
Products, Inc. (Filed in the Eastern District of Michigan Southem Division, March 30, 2016.)
(On or about October 4, 2015, Plaintiff was cooking roasted potatoes in the Defendant's Power
Cooker. Per the instructions, after the Power Cooker light indicated the food was cooked,
Plaintiff repeatedly slid the pressure release lever to release any remaining pressure and fully
opened the valve. Alter waiting several more minutes, Plaintiff looked at the pressure relief valve
and saw no steam coming out of the valve. Suddenly, as Plaintiff opened the unit, the food
exploded out of the unit, spraying all over the kitchen walls and ceiling, and causing serious bum
injuries to Plaintiff and her five-year-old daughter, DM...°°) Pif, Compl. ©€ 14, 15.

vii. Kenya Allen & Loren Allen v. Tristar Products, Inc. (Filed in the Northern
District of Georgia Atlanta Division, August 18, 2016.) (‘At approximately 7:30 p.m. on March
26, 2016, Mrs. Allen was using the subject pressure cooker to prepare a meal for her family that
was coming into town the following day for an Easter holiday celebration. However, with no
active inputs by Plaintiff or anyone else, the subject pressure cooker exploded on the stovetop
in the Plaintiff kitchen during this ordinary use, with the top of the pressure cooker blowing off
the remainder of the product, causing scalding hot liquid, contents and steam to fly up and out
of the pressure cooker, and onto Mrs. Allen, who was standing nearby in the kitchen innocently

speaking with her sister on the telephone and not engaging the cooker.) PIF, Compl. € 8.

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vill. = DLP, a minor child by and through April Presnell, his mother, custodial parent,
and next friend, v. Tristar Products, Inc. (Filed in the Northern District of Georgia Gainseville
Division, November 8, 2016.) (At approximately 7:00 p.m. on July 24, 2016, Ms. Payne was
using the subject pressure cooker to prepare a meal for her family as well as for DLP. However,
even after unplugging the pressure cooker and allowing it to sit fur over one hour, the subject
pressure cooker exploded on the countertop in Ms. Payne's kitchen during this ordinary use,
with the top of the pressure cooker blowing off the remainder of the product, causing scalding
hot liquid, contents and steam to fly up and out of the pressure cooker, and onto DIP, who was
standing nearby in the kitchen and not engaging the cooker.) PIf, Compl. 4 7.

ix. Lori Haines v. Tristar Products. Inc. (Filed in the Southern District of Lexus
Brownsville Division, December 22, 2016.) (“Ms. Haines used the cooker on January 13,2015
and followed all instructions enclosed with the cooker. She intended to prepare stew for her
family’s dinner that evening. She first cooked the meat for the stew for twenty minutes in the
cooker. She then opened the cooker and added vegetables and started the cook cycle again. After
she finished the second cook cycle, she and her son released steam from the cooker and she held
the cooker while her son began to open the lid. As he started to open the lid. it burst open.
spraying her with the scalding hot contents and resulting in extensive and severe burns to her
arm, chest, and stomach.”) PIL Compl. € 12.

x. Jeremy Marcotte v. Tristar Products, Inc.. (Filed in the Western District of
Louisiana Lafayette Division, February 27, 2017.) (“On or about May 19, 2016 suddenly and
without warning, the lid blew off of the cooker, and the contents burst out of the cooker onto
Mr. Marcotte, resulting in extensive and severe burns to his body.”) PIf. Compl. © 8.

xi, Carolyn Johnson and Jessie Mayberry v. Tristar Products, Inc.. Zhongshan
USATA Electric Appliance Co. LID. Pro QC International, LTD... Zhongshan Jinguang
Household Appliance Manufacture Co., LID., Zhongshan Jincheng Electric Appliance Co..
LTD., XYZ Corporations 1-5; Docs L-5, (Filed in the Direct of New Jersey Newark Division,
July 24, 2017.) (On or about July 25, 2016, Plaintiff Carolyn Johnson and Jessie Mayberry.

were using the Pressure Cooker and followed all instructions enclosed with the Pressure Cooker.

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While using the Pressure Cooker to prepare a meal, it suddenly and without waming exploded,
causing scalding hot liquid. contents, and steam to fly out of the Pressure Cooker and onto the
Plaintiff") PIF Compl. && 23, 24,
xii, Beth Morales v. Tristar Products, Inc., Zhongshan USATA Electric Appliance
Co. LTD, Pro QC International, LTD.. Zhongshan Jinguang Houschold Appliance Manufacture
Co.. LTD., Zhongshan Jincheng Electric Appliance Co., LTD.. XYZ Corporations 1-5: Does 1-
5, (Filed in the Southern District of Florida, August £1, 2017.) On or about October 30, 2016,
Plaintiff was using the Pressure Cooker and followed all instructions enclosed with the Pressure
Cooker. While using the Pressure Cooker to prepare a meal, it suddenly and without warning
exploded, causing scalding hot liquid, contents, and steam to fly out of the Pressure Cooker and
onto the Plaintiff.") PLL Compl. 4 23, 24.
c. The same is true for slate courts around the country:
i. Angela Strickland and Mack Edwards v. Tristar Products, Inc., (Filed in the State
Court of Chatham County. State of Georgia, January 11, 2016, notice of removal filed in the
Southern District of Georgia, February 10, 2016.) ("While the Power Cooker XL was operating, it
exploded in front of Plaintiff, causing them serious injuries. As a result of their burns, Plaintiff were
transported to the Joseph M. Still Burn Center in Augusta, Georgia where they both underwent skin
grafts and have endured significant mental and physical pain and suffering.”) PIF. Compl, (© 15, 16.
if. Samantha Williams vy. Tristar Products, Inc., (Filed in the Superior Court of
Lanier County, State of Georgia, February 27, 2017, notice of removal filed in the Middle
District of Georgia, April 20, 2017.) (On or about February 14, 2017, Plaintiff “approached the
subject pressure cooker and lightly pressed the cancel button when suddenly and without
warning, the subject pressure cooker exploded on the countertop during this ordinary use, with
the top of the subject pressure cooker blowing off the remainder of the product, causing the
scalding hot beef stew to fly up and out of the subject pressure cooker and onto [her].” As a
result, Plaintiff claims that she “suffered severely painful and disfiguring second-degree burns,
scalding her neck all the way down to her chest to above the belly button, both breasts, and her

entire right arm from her shoulder down to the wrist,” and that she “was experiencing such

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excruciating pain that the medical personnel [that subsequently treated Plaintiff] had to put her
under anesthesia to continue with their assessment and treatment of the burns.’’). PI. Compl, f
13-16.

i. Lyndsay Moyer and Ryan Moyer v. Wal-Mart Stores East, LP, et. al. (Filed in
the Philadelphia Court of Common Pleas, March 10, 2017) (On or about March 30, 2015 “Ryan
then turned the lid of the Pressure Cooker in reasonable and normal manner to open it, freely
and without force. Immediately upon opening the lid the Pressure Cooker exploded sending its
scalding hot liquid contents all over Lyndsay including her entire chest and neck and both arms
and hands.”) PIf. Compl, § 24.

iv. Nushon Scales v. Tristar Products, Inc., and Wal-Mart Stores, Inc., (Filed in the
Superior Court of Connecticut at Bridgeport, State of Connecticut April 6, 2017, notice of
removal filed in Connecticut District Court. May 9, 2017.) (On or about April 9. 2015, the
Piaintiff was using said Pressure Cooker to cook vegetables when it suddenly and without
warning exploded, spraying the Plaintiff with stem, hot liquid and/or cvoking debris causing the
injuries and damages herein after set forth.”) PIf Compl. © 10,

v. Sandra Pulgarin v. Tristar Products, Inc. Zhongshan USLA Electric Appliance
Co. ETD, and Does | to 100, inclusive (Filed in the Superior Court of California, Los Angeles
County Central District, April 26, 2017, notice of removal filed in California Central District
Court. July 6, 2017.) “[OJn or about May 11, 2015...Plaintiff was burned. bruised, and suffered
physical injury... The product that caused the [incident] - a Power Pressure Cooker XL, model
number PCXL-PROG...Plaintiff's injuries were caused when the [subject product] suddenly
released stem and superheated air and food from the body of the [subject product], burning her.”)
PIE Compl... © 1.

VL Maria Kownes v. [ristar Products, Inc., Zhongshan USATA Electric Appliance
Co. LTD, and Pro QC International, LTD. (Filed in the Superior Court of New Jersey Law
Divisions for Essex County, State of New Jersey May 8, 2017, notice of removal filed in New
Jersey District Court, May 24, 2017.) (“On or about May 30, 2016, Plaintiff [Maria Bownes|,

was using the Pressure Cooker and followed all instructions enclosed with the Pressure Cooker.

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While suing the Pressure Cooker to prepare a meai, it suddenly and without warning exploded,
causing scalding hot liquid, contents, and stem to fly out of the Pressure Cooker and onto the
Plaintiff") PIP Compl. €§ 16,17.

vii.  Latosha Galloway. an individual v. Tristar Products. Inc.. a Pennsylvania
corporation; and Bed Bath & Beyond, Inc. d/b’a BBB, a New York Corporation (Filed in the
Superior Court of the State of Washington for King County, May 30, 2017, notice of removal
filed in the Western District of Washington, June 29, 2017.) (“On or about February 12. 2017,
L.atosha Galloway was in her home and decided to use the subject Pressure Cooker to prepare
beef stew for her family. Ms Galloway placed beef into the Subject Pressure Cooker. locked the
lid. and set it to cook for approximately forty minutes. Ms. Galloway was using the Subject
Pressure Cooker in a normal foreseeable fashion and in accordance with its intended purpose.
Atter a few minutes, Ms. Galloway heard a strange steaming noise emitting from the Subject
Pressure Cooker, which she had never heard before. She approached the Subject Pressure Cooker
and noticed stem being released from an odd place on the Subject Pressure Cooker. Ms.
Galloway unplugged the Subject Pressure Cooker, and waited a minute, watching the Subject
Pressure Cooker, After a minute. Ms. Galloway slightly tapped the lid’s handle to see whether
the lid was still locked into the secure position, it was not...Ms. Galloway quickly moved the
handle back to the locked position, when suddenly and without warning, the Subject Pressure
Cooker exploded on the countertop during ordinary use, with the top of the Subject Pressure
Cooker blowing off the remainder of the product, causing the scalding ho beef, water, and steam
to fly up and out of the Subject Pressure Cooker and onto Ms. Galloway.”) Plt. Compl, € 15.

viii, Amanda Olano v. Tristar Products, Inc. (Filed in the Fighteenth Judicial District
Court for the Parish of Iberville, State of Louisiana, November 30, 2016, notice of removal! filed
in the Middle District of Louisiana, June 5, 2017.) (“Plaintiff suffered “severe and debilitating
bodily injuries including first, second and third degree burns to her left hand and arm that have
required medical treatment’ and claims she has’ suffered disfigurement and scarring to her left
hand and arm’. Plaintiff seeks to recover for past, present and future damages of ‘physical pain
and suftering, mental pain, anguish and distress, loss of enjoyment of life, embarrassment, loss

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*

of income, disability...medical expenses’ and further seeks damages for ‘impairment of future

carning capacity.'") Def. Mot. Rmvl.. © 14.

Ix. Wendy Soto v. Tristar Products, Inc., a Corporation. Costco Whole Corporation,

a Corporation, Costco Wholesale Membership, Inc.. a Corporation: and Does (-100, inclusive

(Filed tn the Superior Court of the State of California, County of Santa Barbara, July 21, 2017,

notice of removal filed in California Central District Court. August 29, 2017.) (“Plaintiff's

Complaint alleges liability for injuries allegedly suffered as a result of a Tristar Power Pressure

Cooker XL malfunction.”) Def. Mot. Rmvl., 43; PIE Compi., § 8.

x. Jeni Chaney and Brian Burnett v. Tristar Products, Inc., et. al. (Filed in the United

States District Court for the Middle District of Florida, Tampa Division, September 22, 2017.)

("On or about November 26, 2016, Plaintiffs, Jeni Chaney and Brian Brunct. were using the

Pressure Cooker while in Pasco County and followed all enclosed with the Pressure Cooker.

While using the Pressure Cooker to prepare a meal, it suddenly and without warning exploded.

causing scalding hot liquid, contents, and steam to fly out of the Pressure Cooker and onto the

Plaintiffs”) PL! Compl, €© 27, 28.

xi. Catherine Komertz and Scott Miller v. Tristar Products, inc.. et. al. (Filed in the

United States District Court for the Middle District of Florida, Tampa Division, September 22,

2017.) On or about April 22, 2017, Plaintiffs Catherine Komertz and Scott Miller, were using

the Pressure Cooker and followed ail instructions enclosed with the Pressure Cooker, While

using the Pressure Cooker to prepare a meal, it suddenly and without warning exploded, causing
scalding hot hquid, contents, and steam to fly out of the Pressure Cooker and onte the

Plaintiffs.”) PIf. Compl, §9 27, 28.

d. A class action lawsuit was filed on May 10, 2016 in the in the Northern District of Ohio
Eastern Division alleging similar incidents, failures and defects. The case of Kenneth Chapman. Jessica
Vennel, and Jason Jackson, on behalf of themselves and all other similar situated v. Tristar Products,
Inc. (1:16-cv-1114) went to trial by jury on Monday. July 10, 2017, with the Honorable Judge James
Gwin presiding. The matter settled prior to the jury returning a verdict.

25. As adirect and proximate result of Defendant Tristar’s intentional concealment of such

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detects, ils falure to warn consumers of such defects, its negligent misrepresentations, its failure to
remove a product with such defects from the stream of commerce, and its negligent design of such
products, Plainulls purchased and used an unreasonably dangerous Pressure Cooker, which resulted in
significant and painful bodily injuries upon the Plaintiffs premature removal of the lid of her Pressure
Cookers.

26. Consequently, the Piaintifl’s in this case seek compensatory damages resulting from the
use of Defendant Tristar’s Pressure Cooker as deseribed above, which has caused the Plaintiff to suffer

from serious bodily injuries, physical pain, mental anguish, diminished enjoyment of life. and other

 

damages.
FIRST CAUSE OF ACTION
(FOR NEGLIGENCE BY PLAINITFFS CARMEN THOMAS BUTLER
AND UNICE BUTLER AGAINST DEFENDANTS, TRISTAR PRODUCTS,
INC’; AND DOES 1-100, INCLUSIVE)
27. Plaintiffs hereby incorporate by reference Paragraphs | through 26 of this Complaint as

though fully set forth herein.

28. At all times herein mentioned, Defendants were and are engaged in the business of
formulating, researching, developing, manufacturing, fabricating, designing, producing. creating.
modifying. labeling, assembling, testing, distributing. leasing, buying, supplying. selling. inspecting.
servicing, repairing, installing, marketing, promoting, warranting, re-branding, manufacturing for
others, packaging, providing use instructions and warnings for, and advertising the Pressure Cooker(s).

29. Defendants had a duty to exercise due care in formulating, researching, developing.
manufacturing, fabricating, designing, producing, creating, modifying. labeling, assembling. testing,
distributing, leasing. buying, supplying. selling. inspecting. servicing, repairing, installing, marketing,
promoting, warranting, re-branding, manufacturing for others, packaging. providing use instructions and
warnings tor, and advertising the Pressure Cooker and Defendants breached said duty of due care.

30. At all times herein mentioned, Defendants negligently and carelessiy formulated,
researched, developed, manufactured, fabricated, designed. produced, created, modified. labeled.
assembled, tested, distributed, leased, bought, supplied, sold, inspected, serviced, repaired, installed,

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marketed. promoted. warranted, re-branded, manulactured for others. packaged. provided use
instructions and warnings for, and advertised the Pressure Cooker so that the Pressure Cooker fatled and
caused personal injuries to users, consumers. workers, bystanders, and others, including Plaintiffs herein
while being used in a manner that was reasonably foreseeable, thereby rendering the Pressure Cooker
unsafe and dangerous for their intended uses.

34. Delendants knew, or in the exercise of due care should have known, that the failure to
exercise due care in the formulating, researching. developing, manufacturing, fabricating, designing.
producing, creating, modilying. labeling, assembling, testing. distributing, leasing, buying. supplying,
selling. inspecting. servicing, repairing, installing, marketing, promoting, warranting, re-branding,
manufacturing for others, packaging, providing use instructions and warnings for, and advertising the
Pressure Cooker would cause, or would foreseeably result in, harm to intended and foreseeable users
and bystanders including Plaintiffs herein.

32. Specifically, and without limitation, Defendants were negligent in the formulating.
researching, developing. manufacturing, fabricating. designing. producing, creating. modifying,
labeling, assembling, testing, distributing, leasing, buying. supplying, selling, inspecting, servicing,
repairing, installing, marketing, promoting, warranting. re-branding, manufacturing for others,
packaging, providing use instructions and warnings for, and advertising the Pressure Cookers in that
they failed to ensure that the Pressure Cooker would not fail or catastrophically rupture or explode when
used as intended by or in a manner reasonably foreseeable to Defendants thereby posing a risk of injury
and so to actually cause injury as complained of herein,

33. A manufacturer, seller and/or distributor of a product is under a duty to exercise
reasonable care in its design of a product so that it can be safely used as intended by the buyer and/or
consumer. (Williams v. Beechnut Nutrition Corp. (1986) 185 Cal.App.3d 135 at 141). This duty extends
to all persons within the range er zone of potential danger.

34. Atall times and places mentioned herein, Defendants owed a duty to Plaintiffs tw exercise
reasonable care in its design of the Pressure Cooker so that the Pressure Cooker could be safely used as
intended. Defendants were engaged in the business of designing, manufacturing, assembling,

distributing, selling, testing, warning, and otherwise placing into the stream of commerce, the Pressure

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Cooker lor sale and use by members of the general public, and as such, Defendants owed a duty to the
general public and to Plaintiffs to produce, design, manufacture, assemble, distribute, sell and otherwise
place into the stream of commerce products, including the Pressure Cooker, that were and are safe for
their intended and foreseeable use, and free from defects.

35. At all times mentioned herein, Defendants, and each of them, engaged in the business
of designing. manufacturing, assembling, testing, inspecting, warning, distributing, promoting, and
selling for retail to members of the general public in the State of California a certain product, the
subject Pressure Cooker, which was sold with knowledge that same would be purchased and used
without inspection of defect.

36. Atal times and places mentioned herein, Defendants were engaged in the business of
designing, marketing and otherwise placing into the stream of commerce said Pressure Cooker for
sale and use by members of the general public, and as such defendants, and each of them, owed the
general public and Plaintiffs a duty to design. market, promote and otherwise place into the stream of
commerce products that are safe in their intended and foresecable use.

37. At all times and places mentioned herein, Defendants negligently produced,
manufactured, assembled. designed, tested, failed to warn, distributed, marketed and sold the subject
Pressure Cooker in a defective and dangerous condition as described at length, hereinabove.

38. Defendants breached their duty to the public and to Plaintiffs by failing to design,
assemble, test, manufacture, warn and otherwise fabricate the subject Pressure Cooker so as ta avoid
its unsafe and hazardous operational characteristics and safety defects, amongst others.

39, As a direct and proximate result of the negligence of Defendants, Plaintiff CARMEN
THOMAS BUTLER was severely injured as described herein described and suffered severe and
permanent physical and emotional injuries including, but not limited to, severe burns and scarring over
her body.

40. As a direct and proximate result of the aforesaid conduct of Defendants, Plaintiff
CARMEN THOMAS BUTLER has suffered permanent injuries to her person, body and health, all to

her general damage in an amount in excess of the minimum jurisdictional limits of the above-entitled

court.

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4}. Asadirect and proximate result of the aforesaid conduct Defendants, Plaintiff CARMEN
THOMAS BUTLER has incurred liability for medical treatment. The truc and exact amount of her
medical expenses is currently unknown to Plaintiff and Plaintiffs prays leave to amend this Complaint
accordingly when the true and exact amount thereof is ascertained.

42. As a further direct and proximate result of the negligence of Defendants, Plaintiff
CARMEN THOMAS BUTLER will be required to and will seck additional fiture medical care and
assistance for treatment of her injuries and will thereby incur additional medical and other related
expenses for care of her injuries. The true and exact amount her future medical expenses is unknown to
Plaintitf at this ime and Plainuff prays leave to amend this Complaint accordingly when the truc and
exact amuunt thereof is ascertained.

43. As a further direct and proximate result of the negligence of Defendants, Plaintiff
CARMEN THOMAS BUTLER was rendered sick, sare, lame, disabled, and disordered, both internally
and externally and suffered, among other things, severe burns and scarring over her body, emotional
distress, pain, discomfort, and anxiety. The exact nature and extent of said injuries are not known to the
Plaintiff, who will pray for leave of the Court to insert the same when they are ascertained. Plaintiff
docs not at this time know the exact duration or permanence of said injuries, but is informed and believes,
and thereon alleges, that some of the said injuries are reasonably certain to be permanent in character.

44, Prior to the occurrence of this accident, Plaintif? was able-bodied individuals, but since
said accident Plaintiff is informed and believes. and thereon alleges, that she will be permanently
incapacitated to some extent and unable to perform certain types of work activities, all to Plaintiff's
damage in an amount which is at present unascertained. Plainufl will pray leave of Court to show the
total amount of her loss of earnings capacity at the time of trial.

SECOND CAUSE OF ACTION
(FOR STRICT LIABILITY BY PLAINTIFF CARMEN THOMAS BUTLER AND UNICE BUTLER

AGAINST DEFENDANTS TRISTAR PRODUCTS, INC; AND DOES 1-100, INCLUSIVE)

45, Plaintiffs hereby incorporate herein by reference Paragraphs | through 44 of this
Complaint as though fully set forth herein.

46. Defendants knew and intended that the Pressure Cooker would be used without

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inspection for defects therein or in any of its component parts and without knowledge of the hazards
involved in such use.

47. Plaintiffs are informed and believe, and thereupon allege, that at all times herein
mentioned, that Defendants were engaged in the business of, amongst other things, formulating.
researching, developing. manufacturing. fabricating, designing. producing. creating, modifying,
labeling, assenibling, testing. distributing, leasing, buying, supplying. selling, inspecting, servicing.
repairing. installing, marketing, promoting, warranting. re-branding. manufacturing for others.
packaging, providing use instructions and warnings for, and advertising the Pressure Cooker referenced
heretnabo ve and, as such, are strictly liable in tort for the defects and deficiencies herein discussed which
caused injury to Plaintiffs as alleged herein.

48. Plaintiffs are informed and believe, and thereon allege, that at all times herein mentioned,
the Pressure Cooker was defective and dangerous, both in manufacture and in design, thereby rendering
the subject equipment unsafe for its intended use and that defects were a cause of injury to Plaintiffs
herein.

49, Vhe Pressure Cooker was and is unsafe for its intended purpose in that it failed
unexpectedly, catastrophicaily and without warning when used as instructed by Defendants or when
used in a manner reasonably foreseeable to Defendants, thereby causing serious and permanent injuries
such as those suffered by Plaintiffs herein. The defect(s) existed in the Pressure Cooker at the time it
left the possession of the Defendants. Said product did, in fact, cause personal injuries, including those
suffered by Plaintiffs herein while being used in a reasonably foreseeable manner, thereby rendering the
same defective, unsafe, and dangerous for use.

50. At_all times mentioned herein, the Pressure Cooker failed to perform as safely as an
ordinary consumer would expect when used in an intended or reasonably foreseeable manner. and/or
the risk of danger inherent in its design outweighed the benefits of said substance and products.

$1. At all times mentioned herein, the foreseeable use of the Pressure Cooker involved a
substantial danger not readily recognizable to an ordinary user, consumer, or bystander, including
Plaintiffs herein, but which danger was known or knowable to Defendants. who failed to adequately

wam of the substantial danger.

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32. Plaintiffs are informed and believe, and upon such information and belief allege that, at
the time of the incident complained of. the subject Pressure Cooker was in substantially the same
condition as it was when it left possession of Defendants.

33. At the times and places mentioned herein, Defendants, knew or should have known at
the time said Pressure Cooker left their possession, that said product was defective in design and
manufacture, that it did not meet users’ and ordinary consumers’ reasonable expectations for safety
when used in a reasonably foreseeable manner, and was dangerous, defective. unfit and unsafe for its
intended use and that said condition was likely to fail catastrophically as described at length
hereinabove, when used in a foreseeable manner, and not properly and adequately tested or inspected.

34, Plaintiffs are informed and beligve. and upon such information and belief allege, that the
Pressure Cooker had associated deficits, risks and defects, including but not limited to, its defective
design, its lack of sufficient warnings and/or use instructions, and those additional items enumerated
hereinabove.

55. These associated deticits. risks and defects were known or knowable by Defendants via
the use and employ of scientific knowledge available at the time of design. manufacture. testing.
waming and distribution of the Pressure Cooker.

56. Plaintiffs herein allege that the associated risks, deficits, and defects of the subject
Pressure Cooker presented a substantial danger to users of the product and that ordinary consumers
would not have recognized or otherwise anticipated these associated risks.

57, Defendants further failed to warn of the potential risks and hazards associated with the
Pressure Cookers when used in a way that was reasonably foreseeable to Defendants. Any wamings
provided were inadequate, defective and inappropriate. This lack of sufficient use instructions and/or
warnings was a substantial factor in causing injuries and damage to Plaintiffs as herein alleged.

38. At the times and places mentioned herein, Defendants knew or should have known at the
time the Pressure Cooker left said Defendants’ possession, that the Pressure Cooker was defective in its
warnings, design and manufacture, likely to perform unsafely in a manner unanticipated by a prudent
user, and having such knowledge, Defendants should have used reasonable care to warn, or give
adequate use instructions and warning of the Pressure Cooker's defects and deficits in design and

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operational characteristics to those intending to use said Pressure Cooker in the manner in which it was
intended to be used.

39. At all times and places mentioned herein, Defendants failed to use reasonable care to
warm. give adequate use instruction or waming to provide facts describing the Pressure Cooker’s
dangerous propensities to those whom they could expect to use the product or be endangered by its
probable use, and such deficits and defects as illustrated hereinabove were a substantial factor in causing
injury and harm to Plaintiffs. The foreseeable risks of catastrophic failure associated with the design of
the Pressure Cooker outweighs the benefits associated with the Pressure Cooker.

60. As a direct and proximate result of the conduct of Defendants. Plaintiff CARMEN
THOMAS BUILER was severely injured as described herein described and suffered severe and
permanent physical and emotional injuries including, but not limited to, burns and scarring, over her
body.

61. As a direct and proximate result of the aforesaid conduct of Defendants, Plaintiff
CARMEN THOMAS BUTLER has sutfered permanent injuries to her person, body and health, all to
her general damage in an amount in excess of the minimum jurisdictional limits of the above-entitled
court.

62. As a direct and proximate result of the aforesaid conduct of Defendants, Plaintiff
CARMEN THOMAS BUTLER has incurred liability for medical treatment. The true and exact amount
of her medical expenses is currently unknown to Plaintiff and Plaintiffs pray leave to amend this
Complaint accordingly when the true and exact amount thereof is ascertained.

63. Asa further direct and proximate result of the conduct of Defendants. Plaintiff CARMEN
THOMAS BUTLER will be required to and will seek additional future medical care and assistance for
treatment of her injuries and will thereby incur additional medical and other related expenses for care

~ of her injurics. The true and exact amount her future medical expenses is unknown to Plaintiff at this
time and Plaintiffs pray leave to amend this Complaint accordingly when the true and exact amount
thercof is ascertained.

64. Asa further direct and proximate result of the conduct of Defendants, Plaintiff CARMEN

THOMAS BUTLER was rendered sick, sore, lame. disabled, and disordered, both internally and

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externally and suffered, among other things, severe burns, scarring, emotional distress, pain, discomfort,
and anxiety. [he exact nature and extent of said injuries are not known to the Plaintiff, who will pray
for leave of the Court to insert the same when they are ascertained. Plaintiffs do not at this time know
the exact duration or permanence of said injuries, but are informed and believe, and thereon alleges, that
some of the said injuries are reasonably certain to be permanent in character,

65, Prior to the ovcurrence of this accident, Plaintiff was an able-bodied individual. but since
said accident Plaintiff is informed and believes, and thereon alleges, that she will be permanently
incapacitated to some extent and unable to perform certain types of work activities, all to Plaintiff's
damage in an amount which is at present unascertained. Plaintiff will pray leave of Court to show the
total amount of her loss of earnings capacity at the time of trial.

THIRD CAUSE OF ACTION
(FOR BREACH OF IMPLIED WARRANTY BY PLAINTIFF CARMEN
THOMAS BUTLER AND UNICE BUTLER AGAINST DEFENDANTS,
TRISTAR PRODUCTS, INC, AND DOES 1-100, INCLUSIVE)

66. Plaintiffs hereby incorporate herein by reference Paragraphs | through 65 of this
Complaint as though fully set forth herein.

67. Plaintiffs purchased the Pressure Cooker which was manufactured and placed into the
stream of commerce by Defendants.

68. At all times mentioned herein, Defendants were and are corporations engaged in the
business of marketing, designing, manufacturing, fabricating. distributing and selling of the and related
equipment for the sale and use by members of the public, including Plaintiffs.

69. Plaintiffs hereby allege that the Pressure Cooker was not of the same quality as those
generally acceptable in the trade, were not fit for the ordinary purposes for which such products are used,
were not adequately labeled as such and did not measure up to the promises or facts stated in the sales
literature, manuals and communications by and from Defendants.

70. Defendants impliedly warranted that the Pressure Cooker, which Defendants designed,
manufactured, assembled, promoted and sold to Plaintiffs, was merchantable and fit and safe for
ordinary use.

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71. Defendants further impliedly warranted that the Pressure Cooker, which Defendants
designed, manufactured, assembled, promoted and sold to Plaintifls was fit lor the particular purposes
for which it was intended and sold.

72. Contrary to these implied warranties, the Pressure Cooker was defective, unmerchantable
and untit for its ordinary use when sold, and unfit for the particular purpose for which it was sold, and
as a result, caused severe and permanent injury to Plaintiff CARMEN THOMAS BUTLER as above
described.

73. As a direet and proximate result of the conduct of Defendants, Plaintiff CARMEN
THOMAS BUTLER was severely injured as described herein described and suffered severe and
permanent physical and emotional injuries including. but not limited to, severe burns and scarring over
her bady.

74, As a direct and proximate result of the aforesaid conduct of Defendants, as set forth
above, Plaintiff has suffered permanent injuries to her person, body and health. all to her general damage
in an amount in excess of the minimum jurisdictional limits of the above-entitled court.

75. Asadirect and proximate result of the aforesaid conduct Defendants as set forth above,
Plaintiff has incurred liability for medical treatment. The true and exact amount of her medica! expenses
is currently unknown to Plaintiff and Plaintiff prays leave to amend this Complaint accordingly when
the true and exact amount thereof is ascertained.

76. Asa further direct and proximate result of the conduct of Defendants, Plaintiff wil! be
required to and will seek additional future medical care and assistance for treatment of her injuries and
will thereby incur additional medical and other related expenses for care of her injuries. ‘Ihe true and
exact amount her future medical expenses is unknown to Plaintiff at this time and Plaintiff prays leave
to amend this Complaint accordingly when the true and exact amount thereof is ascertained.

77. Asa further direct and proximate result of the conduct of Defendants, Plaintiff CARMEN
THOMAS BUTLER was rendered sick, sore, lame, disabled, and disordered, both internally and
extemally and suffered, among other things, severe burns, scarring, emotional distress, pain, discomfort.
and anxiety. The exact nature and extent of said injuries are not known to the Plaintiff, who will pray

for leave of the Court to insert the same when they are ascertained. Plaintiff does not at this time know

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the exact duration or permanence of said injuries, but is informed and believes, and thereon alleges, that
some of the said injuries are reasonably certain to be permanent in character.

78. Prior to the occurrence of this accident, Plaintiff was an able-bodied individual, but since
said accident Plaintiff is informed and bebeves, and thereon alleges, that she will be permanently
incapacitated to some extent and unable to perform certain types of work activities, all to Plainti{l's
damage in an amount which is at present unascertained. Plaintiff will pray leave of Court to show the
total amount of her loss of camings capacity at the time of tial.

FOURTH CAUSE OF ACTION
(FAILURE TO RECALL/RETROFTL BY PLAINTIFFS CARMEN THOMAS BUTLER AND
UNMCE BUTLER AGAINST DEFENDANTS TRISTAR PRODUCTS, INC . AND DOES 1-100,
INCLUSIVE)

79 Plaintiff hereby incorporates herein by reference Paragraphs | through 78 of this Complaint
as though fully set forth herein.

80. Prior to, on, and after the date of Plaintiff CARMEN THOMAS BUTLER’S burns, and
at all relevant times, Defendants designed, manufactured, sold, and marketed the Pressure Cookers for
use by consumers, such as Plaintiffs. in the United States.

81. Prior to, on, and after the date of Plaintiff's burn injuries, and at all relevant times,
Defendants knew or reasonably should have known that the Pressure Cooker and its warnings was
dangerous or were likely to be dangerous when used in a reasonably forcseeable manner.

82. Prior to, on, and after the date of Plaintiff's burn injuries, and at all relevant times,
Defendants became aware of the defects of the Pressure Cooker, including but not limited to the
proclivity of them to allow steam to escape causing severe burn injuries to users who used the product
in an intended or reasonably foreseeable manner.

83. Defendants failed to recall, retrofit, or warm consumers about the danger of the Pressure
Cookers prior to, on. and after the date of Plaintiffs burn injuries.

84. In light of the severity and amount of the complaints transmitted to Defendants, and the

additional available data, reasonable manufacturers and distributors under the same or similar

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circumstances would have recalled or retrofitted the Pressure Cookers and would thereby have avoided
and prevented harm to scores of consumers.

85. Asa direct and proximate result of the above-referenced negligent failure to recall or
retrotit. Plaintiff suffered the injuries described herein,

86. The negligent failure of Defendants, to recall or retrofit the Pressure Cookers and their
failure to furnish timely and adequate warnings were substantial factors in causing Plaintiff s injuries
and damages, as described herein.

FIFTH CAUSE OF ACTION
(FRAUDULENT CONCEALMENT BY PLAINTIFFS CARMEN THOMAS BUTLER AND
UNICE BUTLER AGAINST DEFENDANTS TRISTAR PRODUCTS, INC; AND DOES 1-100.
INCLUSIVE)

87, Plaintiff hereby incorporates herein by reference Paragraphs | through 86 of this
Complaint as though fully set forth herein.

88 At the time in which the Pressure Cooker was purchased, up through and during the
period in which it was used, Defendant Tristar fraudulently suppressed materia! information regarding
the safety and efficacy of its Pressure Cookers, including information regarding the risk of the lid to
suddenly, unexpectedly and prematurely come off while the Pressure Cooker while they remained
pressurized. Plaintiffs believe that the fraudulent misrepresentation described herein
was intentional to maintain and support the sales volume of its Pressure Cookers.

89. At the time Defendant Tristar concealed the fact that its Pressure Cookers were not safe
for use by consumers, Defendant Tristar was under a duty to communicate this information to Plaintiffs.
her family, and the general public in such a manner that they could appreciate the risks and defects
associated with its Pressure Cookers.

90. Plaintiffs relied upon the Defendant Tristar’s outrageous untruths regarding the safety of
its Pressure Cookers.

91, Defendant Tristar did not provide Plaintiffs with the information necessary for them to
make an adequate, informed decision whether to purchase one of its Pressure Cookers.

92. Defendant Tristar Pressure Cookers improperly over-marketed and advertised its

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Pressure Cookers as “safe.” Said advertisements and promotions contained material misrepresentations
as to the safety and efficacy of its Pressure Cookers, which Defendant Tristar knew to be false, for the
purpose of fraudulently inducing consumers. such as the Plaintiffs, to purchase its Pressure Cookers.

93. Plaintiffs relied on these material misrepresentations when deciding to purchase and use
their Pressure Cooker.

94, Had the Plaintiffs been aware of the hazards associated with
Defendant Tristar’s Pressure Cookers, they would not have purchased or used their Pressure Cooker.

95, Lpon information and belief. Plaintiffs aver that Defendant Tristar actively and
fraudulently concealed information in Defendant Tristar’s exclusive possession regarding the risk
hazards associated with the premature removal of its Pressure Cookers lids with the purpose of
preventing consumers, such as the Plaintiff in this case. from discovering these hazards.

96. As a direct and proximate result of Defendants Tristar’s malicious and intentional
concealment of this material information from Plaintilfs, Defendant Tristar caused or contributed.
directly and proximately, to Plaintiffs’ injuries and damages.

97. Defendant Tristar’s conduct, as described above. was extreme and outrageous.
Defendant Tristar risked the safety and wel!-heing of the consumers and users of its Pressure Cookers.
including the Plaintiffs in this action, with the knowledge of the safety and efficacy problems and
suppressed this knowledge from the public. Defendant Tristar made conscious decisions not to redesign,
warn or inform the unsuspecting consuming public. Defendant Tristar’s outrageous conduct warrants an
award of punitive damages.

98. Plaintiff asserts this cause of action in the broadest sense available under the law, to
include pleading same pursuant to all substantive law that applies to this case, as may be determined by

choice of law principles regardless of whether arising under statute and/or common law.
SIXTH CAUSE OF ACTION

(LOSS OF CONSORTIUM BY PLAINTIFF UNICE BUTLER AGAINST DEFENDANTS
TRISTAR PRODUCTS, INC, AND DOES 1-100, INCLUSIVE)

99, Plaintiffs hereby incorporate paragraphs, | through 98, inclusive, and incorporate them
as if set forth in full in this cause of action.

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100.

At all times herein mentioned, CARMEN THOMAS BUTLER and UNICE BUTLER

were married and are wife and hushand.

10t.

Asa direct and proximate result of the aforementioned conduct of Defendants. and the

resultant injuries to Plaintiff, CARMEN THOMAS BUTLER, Plainuff, UNICE BUTLER, has

suffered and is reasonably certain to suffer in the future, the loss of love, comfort, companionship,

comlort, affection, society, solace, moral support, and physical assistance in. the operation and

maintenance of the home, causing damage in excess of the jurisdiction of the limited Superior Court.

WHEREFORE, Plaintiffs pray for judgment and relief against the Defendants, and each of

them, as follows:

L. For general damages in an amount within the jurisdictional limits of this court;

2. Past, future medical and related items of expense, according to proof:

3. For loss of future earnings and earning capacity, according to proof:

4. For prejudgment interest;

5. bor punitive damages;

6. For costs of suit and attorney fees, if awarded by the court, incurred herein: and

7 For such other and further relief as to the 2oyht appears just and proper.
DATED: September 11, 2019 ¥ ry NA “ORP.

      

David RAShoop, bsu.
Vhomas S. Alch, Esq,

Attorneys for Plaintiffs
and UNICE BUTTLE

   
  

“ARME THOMAS BUTLER

  

28
COMPLAINT
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Case 5:19-cv-02108-JGB-SP Document 1-1 Filed 11/04/19 Page 30 of 35 Page ID #:36

DEMAND FOR JURY TRIAL

Plaintiffs hereby demand trial by jury as to all issuss 0 triable.
“ 7 s

> WES : Poa

PI es W CORP. _-

    
  

    
   
 

DATED: September 11, 2019

Lyfe LA
David R, Shéop. Esq.
Thomas 8. Alch, Esq.
Attorneys for Plaintiffs
and UNICE BUTLE

 

 

29
COMPLAINT
Case 5:19-cv-02108-JGB-SP Document 1-1 Filed 11/04/19 Page 31 0f35 Page ID #:37

BY FAX

COPY

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SUM-100
SUMMONS (S000 Pana Ua0 oe Ca CORTE)
(CITACION JUDICIAL) = | Le IB
NOTICE TO DEFENDANT: wn 3! UB )
(AVISO AL DEMANDADO): “COURTY 0. bere Ns
TRISTAR PRODUCTS, INC., and DOES | through LOO, Inclusive -
: ° SEP 1 2 2019

YOU ARE BEING SUED BY PLAINTIFF: L.. Freeland
(LO ESTA DEMANDANDO EL DEMANDANTE): sects ntstnas ons ee vane sane
CARMEN THOMAS BUTLER and UNICE BUTLER

 

 

NOTICE! You hava been sued The cour say dacide against you without your being heard unless you respond within 30 days. Read the infacnation
oelow.

You Nave 30 CALENDAR DAYS alter this sunimons and iega: papers ate served an you to file a wrillen resaonsa at Ibis court ard have a copy
served on the glaintif, A letter or shore call ll nat protect you. Your written response must be in prapar legal! fern if you want the court to hear your
case. There may be a court farm that you can use for your response. You can find these court forms and mora informalion al the California Courts
Online Sait-Heip Center (www.courtinfo ca.gov/selinelp), your caunty ‘aw fbrary, or the courthouse nearest you. If you carro! pay the filing fea, ask
the court clerk for a fee waiver form. If you do not file your respansa on ima, you may ‘asa the casa by defauil, and your wages, money and proparty
may be taken without further warning from the court

There arg olher legal raquiraments. You may wart ‘ou call an attorney right away. if you do tat know an allortay, you may want ts cal an atiarnay
refacra’ service. if you cannot afford an allornay, you ‘nay be ellgibie for free lega’ services fron a nonprofit legal services program. Yau can locale
thesa nonproft groups at the California Legal Services Web site (www Jawheipce'ifornia.org), the California Courts Online Self-Help Center
tan courtinta ca gav/seltheio}, ar by contacting your ‘sca! courl or county oar association. NOTE: The court has a statutory hen for walved fees and
costs un any settlsatent or arbitration award of $10,006 ar more in a civil case. The court's ler must be paid before the cour will dismiss the case.
IAVISO!I Lo har demandads. Sino "aspard6 dantro Je 30 dias. fe corte nugde decidic an su contra gin escuchar su versidn. Leg ig intormacidn a
conhnuan,

Tiene 3¢ DIAS DE CALENDARIO después de que ie antrequen asta citacién 7 oapeles lega‘as para prasentar une resovesta por escrito en esta
eorie ¥ hacer qua 39 entregue una copia ai demandanie. Una carta o una lamada telelénica na io pratagen. Sa respuasta por escrito tene que estar
en formato iegal corracto si dasaa que procesen sii caso en fa corte. Es posible que haya un fermiuiaro que usted pueda usar para su respuesta,
Puede eacantrar asics formutarios de la carta y mds intarmacién an @i Centra de Ayuda dé fas Corles da Caifamnia (www sucorte ca.gov). an ia
bibolece de leyes de su condads 9 en fa corte que le quade mas carca. Sira guede pagar ia cuota de presentacion, pda 3! secretario de fa corte
que i9 dé ur formiufang dé exencién de pago de cuotes, Sine presenia si raspuesta a llempo_ pusde perder al caso por incumplimiento + fa corte is
podta quitar su sueldo, dinero + bienes sin mas advertancia.

Hay olros requisitos legalas. Es recariendatie que lame 4 un avegade inmedatamenta. Sino concca a un abagado, cvece Hamar aun servicio de
remis-cn a sbogados, Si ro puede oeggar a un sbogado, es posible que cumpia con los requisitos para ablener sarvicics lega'as gratuilos de un
brogiama de servicios legales sin fines de lucto, Puede encontrar estes grupos sin fines de lucro ep ef sitic web de Casfornia Legal Services,

(rave iavhelpcaiifornia org), en ef Centro de Ayuda de ios Cortas de California, (wwiw sucodté.ca.gov) ¢ poniénaose an contacto con le sorta o ef
colagio da abogados locales. AVISO: Por tey, ia corte tiene derecho a reciamar las cuatas y jos casios exerlos por imponer an gravaman sobre
suaiquior recuneracin da 119.600 6 mas de vaior recitida mediante un acueriic o una conces’én de arh'traya en un caso de darechs civil. Nene que

 

 

pagar ef gravamen de la corte antes de que [a corte puada aesechar af caso.

 

The name and addrass of the court is: CASE NUNUER
7E! nombre y direceién de ta corte os}; Superior Court of the State of California Mia ay EH 9
for the County of Rivarside, 4050 tain St, Riverside. CA 92501 Ri C 1 0 4 6 6 6

 

 

 

The name, address. ard telephone number of plaintiffs attorney, or siaintiff without an attorney, Is
El nombre, la direccion y of numero de leiéfono dal abogado dal demandanto, o del damandante que no tiene abogado, es}:

Thomas S. Alch, SHOOP | APLC, 9701 Wilshire Bivd. Suite 950, Beverly Hills, CA 90212 (310) 620-9533
SEP 1 2 2019 Clerk, by (.. FREELAND , Deputy

DATE:
{Aqzunito}

(Fecha) (Sacretario}
(For proof of service of this summons, uso Proof of Sarvica of Summons (form POS-010),)

{Para prueba de entrega de asta citalién use al formulario Proo’ of Service cf Summons, /POS-010)).
a NOTICE TO THE PERSON SERVED: You are served

BEA t [1 as an individual defendant.

2. [77] as the cerson sued under (ne fictitious name of (specify).

 

 

3, [7] on behatfot (specify):

under [7] CCP 416.10 (corporation) [7] CCP 416 60 (minor;
(C] CCP 416.20 (sefunct corporation) [] CCP 416 70 (conservatee)
' CCP 416.40 (assaciatinn or partnership} [~~ CCP 418.90 (authorized cerson)
coal beerene

{"_] other (soacity)

 

 

 

4. (__] by personal delivary on (data):
Page tof i

SUMMONS Code at Cre: Prataeure 9G 412 20, ABS
wits trmbnic ca gov

 
Case 5:19-cv-02108-JGB-SP Document 1-1 Filed 11/04/19 Page 32 of 35 Page ID #:38

SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
4050 Main Street
Riverside. CA 92501
www. riverside courts ca gov

NOTICE OF CASE MANAGEMENT CONFERENCE

BUTLER VS TRISTAR PRODUCTS

CASE NO. RIC 1904666

The Case Management Conference is scheduled for 03/10/20 at 8:30 in Department 01.

No later than 15 calendar days before the date set for the case management conference
or review, each partly must file a case management statement and serve it on all other

parties in the case. CRC, Rule 3.725.

The  piaintiff/cross-complainant shail serve a copy of this notice on ali
defendants/cross-defendants who are named or added to the complaint and file proof of

service.

Any disqualification pursuant to CCP Section 170.6 shall be filed in accordance with that
section.

Requests for accommodations can be made by submitting Judicial Council form MC-410
no fewer than five court days before the hearing. See California Rules of Court. rule

1.100

CERTIFICATE OF MAILING

| certify that | am currently employed by the Superior Court of California, County of
Riverside, and that | am not a party to this action or proceeding. In my capacity, | am
familiar with the practices and procedures used in connection with the mailing of
correspondence. Such correspondence is deposited in the outgoing mail of the Superior
Court. Outgoing mail is delivered to and mailed by the United States Postal Service,
postage prepaid. the same day in the ordinary course of business. | certify that | served
a copy of the foregoing NOTICE on this date, by depositing said copy as stated above.

Court Executive Officer/Cle

   

Date. 09/12/19 by:

 

LAURA FREELAND , Deputy Clerk

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Case 5:19-cv-02108-JGB-SP Document 1-1 Filed 11/04/19 Page 33 of 35 Page ID #:39

SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
4050 Main Street
Riverside, CA 92501

NOTICE OF DEPARTMENT ASSIGNMENT

BUTLER VS TRISTAR PRODUCTS
CASE NO. RIC 1904666

This case is assigned to the HONORABLE Judge Chad W. Firetag in Department 03 for Law and
Motion purposes only.

The case is assigned to Honorable Judge Craig Riemer in Department 1 for case management
hearings (Case Management Conferences, Order to Show Causes, Status Conferences and Trial

Satting Conferences).

Any disqualification pursuant to CCP section 170.6 shall be filed in accordance with that section.

The court follows California Rules of Court, Rule 3.1308(a)(1) for tentative rulings (see Riverside
Superior Court Local Rule 3316). Tentative Rulings for each law and motion matter are posted on the
internet by 3:00 pm on the court day immediately before the hearing at

“hiltp:nverside. courts.ca gove/tentativeruings shtmi>. If you do not have internet access, you may
obtain the tentative ruling by telephone at (760) 904-5722.

To request oral argument, you must (1) notify the judicial secretary at (760) 904-5722 and (2) inform all
other parties, no later than 4:30 pm the court day before tne hearing. If no request for oral argument is
made by 4.30 pm, the tentative ruling will become the final ruling on the matter effective the date of the
hearing

The filing party shall serve a copy of this notice on all parties

Requests for accommodations can be made by submitting Judicial Council form MC-410 no fewer than
five court days before the hearing. See California Rules of Court, rule +.100

CERTIFICATE OF MAILING

| certify that | am currently employed by the Superior Court of California, County of Riverside, and that |
am not a party to this action or proceeding. in my capacity, | am familiar with the practices and
procedures used in connection with the mailing of correspondence. Such correspondence is deposited
in the outgoing mail of the Superior Court. Outgoing mail is delivered to and mailed by the United
States Postal Service, postage prepaid, the same day in the ordinary course of business | certify that |
served a copy of the foregoing NOTICE on this date, by depositing said copy as stated above.

a utive Off
Date: 09/12/19 by: 4

LAURA FREELAND, Depuly Clerk

riClerk

    
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BY FAX

Case 5:19-cv-02108-JGB-SP Document 1-1 Filed 11/04/19 Page 34 of 35 Page ID #:40

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ings & ya (SBN Piha a iName Sla'e Bar syumber acd vitransy
SHOOP, A PROFESSIONAL PAW CORPORATION
$701 Viishira Bivd,, Suite 950
Beverly Hills, Calfomia 90212 | | {l, is Ik j)

TSE BPRCHE ty f 5 ¢, c S

retcencne no 310 620 9533 raxno. 310 620 8330 SUPERION court o CALTORM

ATTORNEY FOR aay; Plaintiffs, Carmen Tnomas Butler ard Unice Butter 1 sibs

 

SUPERIOR COURT OF CALIFORNIA, COUNTY OF Riverside

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ary anozecoce Riverside 92507 i... Frasland

aeancinave Riverside Historic Courthouse oo eee ae arweenes

 

 

CASE NAME
Carmen Thomas Butler, et al. v. Tristar Products, Inc., ct af.

 

[V_ Untimited [__] timited TF

CIVIL CASE COVER SHEET Complex Case Designation ~ RIC | 9 0 4 6 6 6

 

‘Amount (Amount [| Counter ©] Jotnder

demanded demanded is Fied witn frst appearance by deferidant
exceeds $25,000) $25,000 or tess) (Ga’. Rules of Court, rule 3.402) cert

ALAS

 

 

 

 

ilems 1-6 below must be complaled (sea instructions cn page 2).

 

Check one box below for the case type that best describes this case

Auto Tort Contract Provisionaliy Compiex Civil Litigation

Lol Auto (22) [_] greach of cantractivarranty (66) (Cal. Rules of Court, rutas 3.400-3,403)
Uninsured motorist (46) (_} Rule 3 749 collactions (09) (_] Antitrusl/ Trade regulation (03)

Other PI/PD/AWO (Pargonal injury/Proparty Cl Other collections (09! C. Constructlon defect (19)

Damage/Wrongful Oeath) Tort L_ insurance coverage (18) Mags tort (40)

Sacurilias tigation (24)
Environmentaif? oxic tort (30)
insurance coverage claims arising from the

Asbestos (04) [1] omer contract 97)
Product dability (24) Real Property
Medical maipractice (45) [""] Eminent domaininvarse =

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[ Other PYPDAND (23) _., Sontemnation (14) above listed provisionally corpiax case
Non-PLPOAVD (Other) Tort J Wrongful eviction 3} types (41)

Co Husingss tort/untai ousiness practice (87) - _ Other seal gracerty (26) Enforcement of Judgment

= Civil rights (08) Untawtul Detainar } Enforcement of judgmant (26)

["] cefamation (3) | Conimarcial (31) Miscellaneous Civil Complaint

[J Fraud (18! {_] Residentiai (32) ‘ia RICO (27)

= Intelactua! property (10) (I Drugs (38) _ Other compiainl (not speciied adeve) (42)
[_] Protessiana! nagiigence (25) Judicial Roview Migcottaneous Civil Patition

[7] otne: non PHP DAWG ton (35) Aasat farfetura (08) ~~] Pannersnip and corporate govertance (21;
Employment [_] Petition te: arbitration award (11) Cj Other petitian (rot spacdiad above) (43)
eo Wrongful terminator (6) C_] Writ of mandate (62)

[_} Other employment (15) C] Other judicial review (39) J

 

Thiscase [Is {¥] isnot complex under rule 3.400 of the California Rules of Court If the case is complex, mark the
factors requiring exceptional judicial management:

a. CJ Large number of separately represented partes d. f—] Large number of witnesses

2 C Extens:ve motion practice raising difficuit or novel =e. f] Cocrdination wilh related actions pending in one or more courts

 

 

issues fat will be time-consuming to resolve _ in other counties, states, of countries, or in a fedaral court
c. cd Substantial amaunt of documentary evidence is __] Sunstantia! postjudgment judicial supervision
3. Remedies sought! (check ail that apply) aly] mone‘ary 6 rr nonmonetary: declaratory or injunctive relief — c. wv | punitive
4. Number of causes of action (specify): Six causes of action
§. This case (-] is isnot a clasa action suil.
&. if there are any krown related cases, file and serve a notice of related case. (You may use form CM-015,)
Date: 9/11/2019
Thomas S. Alch >
(TPE Ga NT NAUE) OO SIGRATORE CF PART OR ATIOEAY FOR PRT)
NOTICE

 

« Plaintiff mus: fie tnis caver sneet with the first paper filed in lhe action or proceeding (except smail claims cases or cases filed
urder the Probate Code, Family Cade, or Welfare and institutions Code}. (Ca! Rules of Court, rule 3.220.) Failure to file may result
in sanctions,

* File this cover sheet in addition ta any cover sheet requirad by focal court ru’e.

¢ if this case is complex under rule 3,400 et seq. of the California Rulas of Court. you must serve a copy of this cover sheet on all
other parties to the action or proceading.

« Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only. ter

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Fez. y datery Us Cm Ring of Cour’, Bans B90. 3780 3408-9405. A740,
2s abot ft Ms iakcry Ue CIVIL CASE COVER SHEET Cy Sigudieds at Reweine Adniciseion

   

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Case 5:19-cv-02108-JGB-SP Document 1-1 Filed 11/04/19 Page 35 o0f35 Page ID #:41

BY FAX

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SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE

 

 

   

 

 

 

BANNING 3!1 E. Ramsay SI, Banrirg, CA 92226 (J MURRIETA 30/95-D Auld Ra, Sute 1226, Murcata, CA 97593
OQ BLYTHE 265 N. Broadway, Blythe, CA 62225 C] PALM SPRINGS 3255 E. Tabauitz Ganyon Way. aim Springs, CA 92222
(] HEMET 84a0N State St, Hares, CA 92543 ff] RIVERSIDE 4050 Ma‘n St, Riverside, CA 9259+
O MORENO VALLEY (3800 Heaareck St. Sle. 0291 C] TEMECULA 4'602 Court; Centar Dr, @:00 Temeriia CA 97491
Morena Valley, CA 62553
__ RI-030
ATTOUNEY OB PARTY WHTGUL ATIOUNEY (Mane, Stale ar Aiuarber and Address} POM Cia Use ONY
Thomas §. Alch (SBN 136860) os . ——
SHOOP, A PROFESSIONAL LAW CORPORATION a i i | iD)
9701 Wilshire Blvd. Suite 950 SuPEIIOR COLE T OR
Beverly Hills, California 90212 COUMTY Oo RIVERSIDE
receprone vo 310 620 9533 FAKNO (Optcons 310 620 6330 spp 49
EMA ADRESS (Getosay Thomas.alch@shooplaw.com SEP | 2 219
aTronNe? FoR iver) Carmen Thomas Butler and Unice Butler
Heh etirittnnnntitttinenontammnnineeenanh seu bmmennantnnctine rit et stn, tats tt sth Stet ntact ee nis Hasina KN et tte nena i. Freele i iW
PLAINTIFFIPETITIONER: Carmen Thomas Butler and Unice Butler a Seneca tm ieecea ta eelgew pesca dese
: ty 2 fs gh.
DEFENDAN LDRESPONDENT: Tristar Products, Inc., a Pennsylvania Corporation “BIG 4 gy 0 4 6 66
CERTIFICATE OF COUNSEL

 

 

The undersigned certifies that this matter should be tried or heard in the court identified above for the reasons
specified below:

&] The action arase in the zip code of. +: 92505

 

{] The action concerns real property located in the zip code of:

[] The Defendant resides in the zip code of:

For more information on where actions should be filed in the Riverside County Superior Courts, please refer
to Local Rule 1.0015 at www.riverside.courts.ca.gov.

| certify (or declare) under penalty of perjury under the laws of the State of California that the foregoing is
true and correct.

Date 9/11/2019

 

 

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ge pg nn . on ng Page Tol
Appraved far Mindat tise CERTIFICATE OF COUNSEL tocat Rule 1668S

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ALGAE Hae WOES
